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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 12-20071-CR-Seitz/Garber


  UNITED STATES OF AMERICA,

  v.

  FRANCISCO CUBERO,

        Defendant.
  ____________________________/

                REPORT AND RECOMMENDATION ON CHANGE OF PLEA

         THIS CAUSE was before the Court by Order of Reference from United States District Judge

  Patricia A. Seitz and the consent of the parties for the acceptance by a United States Magistrate

  Judge of guilty pleas by the defendant in this cause. Pursuant to such reference, the Court has

  conducted a change of plea hearing on May 10, 2012 which was attended by the defendant Cubero,

  his attorney, Manuel Gonzalez, Esquire, and Assistant United States Attorney Vanessa S. Johannes.

  The Court hereby advises as follows:

         1. At the commencement of the change of plea proceedings, the Court advised the defendant

  that he had a right to have these proceedings conducted by the United States District Judge assigned

  to this case. The defendant was advised that a Magistrate Judge was conducting these proceedings

  by Order of Reference from the District Judge, based upon the consent of the defendant, his attorney,

  and the Assistant United States Attorney to whom this cause is assigned, as evidenced by the filing

  of a Waiver executed by the defendant, his counsel, and government counsel. The Court advised the

  defendant that the sentence would be imposed by the District Judge, who would make all findings
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  and rulings regarding such sentence and would conduct a sentencing hearing at a time scheduled by

  the District Judge.

         2. The defendant was advised that he did not have to permit the undersigned United States

  Magistrate Judge to conduct the change of plea hearing and could request that it be conducted only

  by a United States District Judge. All parties and counsel agreed and consented to these proceedings

  being conducted by the undersigned.

         3. The Court then conducted a plea colloquy with the defendant consistent with the outline

  set forth in the Bench Book for U. S. District Court Judges and in conformity with the requirements

  of Rule 11 of the Federal Rules of Criminal Procedure.

         4. The Court advised the defendant of the sentence possibilities as to the charges set forth

  in Counts 1, 2, and 3 of the Indictment to which he was tendering guilty pleas, as well as the

  possible fines and terms of supervised release. The Court also advised the defendant of the

  mandatory special assessment of $100.00 per count which must be paid at the time of sentencing.

  The defendant was advised that the charges in Count 1 carried a statutory mandatory term of

  imprisonment of five (5) years and up to twenty (20) years, a fine of up to $250,000.00, and a term

  of supervised release of up to five (5) years; Count 2 carries a statutory maximum term of ten (10)

  years imprisonment, supervised release of up to three (3) years, and a fine of up to $250,000.00; and

  Count 3 carries a maximum term of imprisonment of ten (10) years, supervised release of three (3)

  years, and a fine of up to $250,000.00. The Indictment sets forth a forfeiture requirement and by his

  plea of guilty, the defendant waives his right to contest such forfeiture.




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         5. The defendant acknowledged that he was satisfied with the services of his attorney and

  that he had full opportunity to discuss all facets of his case with his attorney, which he acknowledged

  that he understood.

         6. The defendant pled guilty to the charges set forth in Counts 1, 2, and 3 of the Indictment,

  Count 1 charging that the defendant, on the date alleged in the Indictment and in the Southern

  District of Florida, did knowingly distribute visual depictions by use of interstate and foreign

  commerce including by computer, and production of such visual depictions involving the use of a

  minor engaged in sexually explicit conduct, as defined in Title 18, United States Code, Section

  2256(2), and such visual depiction was of such conduct, in violation of Title 18, United States Code,

  Sections 2252 (a)(2) and (B)(1). Counts 2 and 3 charge the defendant with Possession of Child

  Pornography on a laptop (Count 2) and on a compact disk (Count 3), both counts in violation of Title

  18, United States Code, Sections 2252(a)(4)(B) and (b)(2).

         7. The government filed a factual basis, made part of the record and executed by the

  government, the defendant and his counsel, for the guilty pleas, which consisted of all of the

  essential elements of the offenses to which the defendant is pleading guilty.

         8. The defendant was referred to the United States Probation Office for the preparation of a

  Pre-sentence Report. The defendant was permitted to remain at liberty on the bond and all

  conditions previously imposed.

         Accordingly, and based upon the foregoing and the plea colloquy conducted in this cause,

  the undersigned hereby

         RECOMMENDS that the defendant be found to have freely and voluntarily entered his guilty

  pleas to Counts 1, 2, and 3 of the Indictment, that his guilty pleas be accepted, that he be adjudicated


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  guilty of such offenses, and that a sentencing hearing be scheduled for a final disposition of this

  cause.

           The parties have fourteen (14) days from the date of this Report and Recommendation within

  which to file written objections, if any, with United States District Judge Patricia A. Seitz. See 28

  U.S.C. §636. Failure to file timely objections may bar the parties from attacking on appeal the

  factual findings contained herein. LoConte v. Dugger, 847 F.2d 745, 750 (11th Cir.), cert. denied,

  488 U.S. 958 (1988).

           RESPECTFULLY SUBMITTED at the United States Courthouse, Miami, Florida this 10th

  day of May, 2012.


                                                        _________________________________
                                                        BARRY L. GARBER
                                                        UNITED STATES MAGISTRATE JUDGE




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